                                                                                                               Case 1:15-cv-06119-AJN-JLC Document 381-40 Filed 06/19/17 Page 1 of 1

TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Amy Gould
CC.          Tony Bergamo, Steve Dolnick, Lorraine Doyle, Anna Seddio, Alva Acosta, Steve Rossi,
             Clive Spagnoli, Angela Vigorito, Vernon Jefferson, Jeff Epstein, Keri Constable, Oneeka Williams, Cynthia Howard
DATE:        September 25, 2012


                                          LEGAL ACTION UPDATE REPORT


                                               AMOUNT        # OF MONTHS          CURRENT
APT          TENANT                           SUED FOR         SUED FOR           O/S RENT      STATUS




200 RECTOR PLACE -

3H      DA   DELLA VENTURA                      $6,417             2+              $6,417       3 DAY OUT FOR SERVICE


24D     DA   LINES                             $13,145             3+              $17,312      EVICTION SCHEDULED FOR 9/27 - OTSC FOR 10/3


32J     DA   KODSI                             $14,632             5+              $14,632      3 DAY OUT FOR SERVICE




                                                                                                                                                                                       LD000134
